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FILED
IN OPEN COURT

 

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

 

 

 

CLERK, U.S. DISTRICT COURT

 

 

 

Alexandria Division ALEXANDRIA, VIRGINIA
UNITED STATES OF AMERICA, )
)
Vv. ) Case No. 1:21-cr-00245-AJT
)
IGOR Y. DANCHENKO, )
)
Defendant. )
VERDICT FORM
Count 2

With respect to the charge of false statements on or about March 16, 2017, as alleged in

Count 2 of the Indictment, we, the jury, find:
Defendant Igor Y. Danchenko:
X Not Guilty Guilty
Count 3

With respect to the charge of false statements on or about May 18, 2017, as alleged in

Count 3 of the Indictment, we, the jury, find:

Defendant Igor Y. Danchenko:

j \ Not Guilty Guilty
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Count 4
With respect to the charge of false statements on or about October 24, 2017, as alleged in

Count 4 of the Indictment, we, the jury, find:

Defendant Igor Y. Danchenko:

x Not Guilty Guilty

Count §
With respect to the charge of false statements on or about November 2, 2017, as alleged in

Count 5 of the Indictment, we, the jury, find:
Defendant Igor Y. Danchenko:

X Not Guilty Guilty

th
So say we all this / % day of O-to be {_,2022.

F

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